Case 6:18-cv-01328-PGB-GJK Document 1 Filed 08/14/18 Page 1 of 12 PageID 1

UNITED STATES DISTRICT COURT ,~ \), p) (2: 23
MIDDLE DISTRICT OF FLORIDA >
ORLANDO DIVISION
ANGELA PIPES,

on behalf of herself and all
others similarly situated,

ACA
Plaintiff, Case No: Let §-Cv-1328- OL

V.

ACE & W INVESTMENT, LLC d/b/a
MANNY’S ORIGINAL CHOPHOUSE
OF KISSIMMEE,

Defendant.
/

CLASS ACTION AND COLLECTIVE COMPLAINT AND
DEMAND FOR JURY TRIAL

Plaintiff, ANGELA PIPES, by and through undersigned counsel, and on behalf of
herself and all those similarly situated, brings this hybrid class/collective action against
Defendant, ACE & W INVESTMENT, LLC d/b/a MANNY’S ORIGINAL CHOPHOUSE
OF KISSIMMEE, and in support thereof states as follows:

JURISDICTION AND VENUE

1. This is an action for damages for violation of the Fair Labor Standards Act
(“FLSA”), 29 U.S.C. § 201 et seg., and Art. X, § 24 of the Florida Constitution minimum
wage provisions as Defendant failed to pay its employees the minimum wage as required

under both federal law and pursuant to Florida law.
Case 6:18-cv-01328-PGB-GJK Document 1 Filed 08/14/18 Page 2 of 12 PagelD 2

2. Venue is proper in the Middle District of Florida because Defendant is a
resident of this District, Plaintiff is a resident of this district, and the events giving rise
occurred within this District.

PARTIES
3. Plaintiff is a resident of Kissimmee, Osceola County, Florida.
4. Defendant operates a restaurant Kissimmee, Osceola County, Florida.
GENERAL ALLEGATIONS

5. Plaintiff and the putative Florida Class Members have satisfied all conditions
precedent, or they have been waived, including by sending Defendant a pre-suit demand
notice as mandated by Fla. State. 448.110 (6)(a).

6. Plaintiff hired the undersigned attorneys and agreed to pay them a fee.

7. Plaintiff requests a jury trial for all issues so triable.

8. At all times material hereto, Plaintiff and the FLSA Collective Class Members
were “engaged in the production of goods” for commerce within the meaning of Sections 6
and 7 of the FLSA, and as such was subject to the individual coverage of the FLSA.

9. At all times material hereto, Plaintiff and the FLSA Collective Class Members
were an “employees” of the Defendant within the meaning of the FLSA.

10. The FLSA Collective Class Members consist of all similarly situated
employees who were employed as by Defendants by Defendant within the last three years.

11. Atall times material hereto, Defendant was an “employer” within the meaning
of the FLSA, 29 U.S.C. § 203(d).

12. Defendant continues to be an “employer” within the meaning of the FLSA.
Case 6:18-cv-01328-PGB-GJK Document1 Filed 08/14/18 Page 3 of 12 PagelD 3

13. At all times material hereto, Defendant was and continues to be an enterprise
engaged in the “providing of services for commerce” within the meaning of the FLSA, 29
U.S.C. §§ 203(r) and 203(s).

14. At all times relevant to this action, the annual gross sales volume of Defendant
exceeded $500,000 per year.

15. At all times material hereto, the work performed by Plaintiff and the FLSA
Collective Class Members was directly essential to the business performed by Defendant.

FACTS

16. ‘Plaintiff began working for Defendant as a Server in May 2016 and she
worked in this capacity until October 2016.

17. At all times material hereto, Plaintiff, the FLSA Collective Class Members,
and the putative Florida Class Members worked hours at the direction of Defendant, and they
were not paid at least the applicable minimum wage for all of the hours that they worked.

18. Specifically, Defendant compensated Plaintiff, the FLSA Collective Class
Members, and the putative Florida Class Members at an hourly rate below the Florida and
Federal minimum wage by taking what’s commonly referred to as the “tip credit” for tipped
employees. However, the tip amounts Defendant paid to Plaintiff, the FLSA Collective Class
Members, and the putative Florida Class Members in which Plaintiff seeks to represent did
not add up to at least the Federal or Florida minimum wage threshold.

19. Defendant did not accurately record all of the hours worked by its employees.
Case 6:18-cv-01328-PGB-GJK Document1 Filed 08/14/18 Page 4 of 12 PagelD 4

20. By failing to accurately record all of the hours worked by Plaintiff, the FLSA
Collective Class Members, and the putative Florida Class Members, Defendant failed to
make, keep, and preserve records with respect to each of its employees in a manner sufficient
to determine their wages, hours, and other conditions of employment, in violation of the
FLSA. See 29 C.F.R. § 516.2

21. Defendant’s actions were willful, intentional, and showed reckless disregard
for the provisions of the FLSA.

FLSA 29 U.S.C. § 216(b) COLLECTIVE ACTION ALLEGATIONS

22. Plaintiff brings this case as an “opt-in” collective action on behalf of similarly
situated employees of Defendant (the “FLSA Collective Class”) pursuant to 29 U.S.C. §
216(b). The Class is composed of all similarly situated employees consists of all other
persons employed by Defendant within the last three years who were not paid federal
minimum wage.

23. More specifically, the FLSA Collective Class is defined as follows:

All persons employed by Defendant whom Defendant failed to pay the

mandated federal minimum wage during the three years preceding the

filing of this Complaint through the present (hereinafter referred to as
the “FLSA Collective Class”).

24. The total number and identities of the FLSA Collective Class members may
be determined from the records of Defendant, and the FLSA Collective Class may easily and
quickly be notified of the pendency of this action.

25. Plaintiff is similar to the FLSA Collective Class because she and the FLSA

Collective Class have been unlawfully denied full payment of their minimum wages as

mandated by the FLSA.
Case 6:18-cv-01328-PGB-GJK Document 1 Filed 08/14/18 Page 5 of 12 PagelD 5

26. ‘Plaintiff's experience with Defendant’s payroll practices is typical of the
experiences of the FLSA Collective Class.

27.  Defendant’s failure to pay all wages due at a rate that was at least equal to the
applicable statutory Federal minimum wage amounts is common to the FLSA Collective
Class.

28.  Defendant’s practice of making unlawful deductions from wages in violation
of the FLSA is common to the FLSA Collective Class.

29. Overall, Plaintiff's experience as a Server who worked for Defendant is
typical of the experience of the FLSA Collective Class.

30. Specific job titles or job duties of the FLSA Collective Class do not prevent
collective treatment.

31. Although the issues of damages can be individual in character, there remains a
common nucleus of operative facts concerning Defendant’s liability under the FLSA in this
case.

RULE 23 REQUIREMENTS

32. Plaintiff, on behalf of herself and all those similarly situated asserts a Fed. R.
Civ. P. 23 class claim against Defendant defined as follows:

All persons who were employed by Defendant at any time five years prior to

the filing of this Complaint, through the present, and who were not paid at

least the applicable Florida Minimum Wage for all hours worked, as required,

in violation of Article X, Section 24 of the Florida Constitution (the “Florida
Class”).
Case 6:18-cv-01328-PGB-GJK Document 1 Filed 08/14/18 Page 6 of 12 PagelD 6

33. | Numerosity: The persons in the Florida Class identified above are so
numerous that joinder of all members is impracticable. Although the precise number of such
persons is unknown, and the facts on which the calculation of that number are presently
within the sole control of the Defendant, upon information and belief, there are
approximately 150 members of the Florida Class during the Florida Class Period.

34. Typicality: The claims of Plaintiff are typical of the claims of the Florida
Class, and a class action is superior to other available methods of fair and efficient
adjudication of the controversy particularly in the context of wage and hour litigation where
an individual plaintiff lacks the financial resources to vigorously prosecute a lawsuit against
a corporate defendant.

35. Adequacy: Plaintiff will fairly and adequately protect the interests of the
Florida Class, and has retained counsel experienced in complex class action litigation.

36. | Commonality: Common questions of law and fact exist as to all members of
the Putative Classes, and predominate over any questions solely affecting individual
members of the Putative Classes. These common questions include, but are not limited to:

a. Whether the Defendant employed the members of the Florida Class
within the meaning of Article X, Section 24 of the Florida
Constitution;

b. Whether the Defendant failed to keep true and accurate time records
for all hours worked by Plaintiff and the Florida Class Members;

c. What proof of hours worked is sufficient where employers fail in their

duty to maintain time records;
Case 6:18-cv-01328-PGB-GJK Document 1 Filed 08/14/18 Page 7 of 12 PagelD 7

d. Whether Defendant failed and/or refused to pay the members of the
Florida Class at least the Florida Minimum Wage in one of more
workweeks;

e. Whether the Defendant are liable for all damages claimed hereunder,
including but not limited to, costs, disbursements and attorney’s fees;
and

f. Whether the Defendant should be enjoined from such violations of
Article X, Section 24 of the Florida Constitution in the future.

37. Application of this policy or practice does/did not depend on the personal
circumstances of Plaintiff or those joining this lawsuit. Rather, the same policy or practice
which resulted in the non-payment of minimum wages to Plaintiff applied and continues to
apply to all class members.

38. This case is also maintainable as a class action because Defendant have acted
or refused to act on grounds that apply generally to the putative Florida Class, so that final
injunctive relief or corresponding declaratory relief is appropriate with respect to the Class as
a whole.

39. Plaintiff intends to send notice to all members of the Putative Class to the
extent required by Rule 23 of the Federal Rules of Civil Procedure. The names and
addresses of the Putative Class members are readily available from Defendant’s records.

COUNT I - FLSA MINIMUM WAGE VIOLATION *
40. Plaintiff realleges and readopts the allegations of paragraphs 1 through 39 of

this Complaint, as though fully set forth herein.
9

Case 6:18-cv-01328-PGB-GJK Document 1 Filed 08/14/18 Page 8 of 12 PagelD 8

41. During the statutory period, Plaintiff and the FLSA Collective Class Members
worked for Defendant, and were not paid a minimum wage for the hours that they worked, as
mandated by the FLSA.

42. Defendant failed to compensate Plaintiff and the FLSA Collective Class
Members at a rate that was at least equal to the applicable federal minimum wage.

43. This reckless practice violates the provisions of the FLSA, specifically 29
U.S.C. § 206(a)(1)(C). As a result, Plaintiff and the FLSA Collective Class Members who
have opted in to this action are each entitled to an amount equal to their unpaid minimum
wages as liquidated damages.

44, _ The foregoing conduct, as alleged, constitutes a willful violation of the FLSA
within the meaning of 29 U.S.C. § 255(a).

45. Asaresult of the foregoing, Plaintiff and the FLSA Collective Class Members
have suffered damages.

WHEREFORE, Plaintiff demands:

a) Designation of this action as a collective action on behalf of the
Plaintiff and the prospective FLSA Collective Class Members that she
seeks to represent, in accordance with the FLSA;

b) Prompt issuance of notice pursuant to 29 U.S.C. § 216(b) to all
similarly situated members of the FLSA putative Collective Class,
apprising them of the pendency of this action and permitting them to
assert timely FLSA claims in this action by filing individual consent to

sue forms pursuant to 29 U.S.C. § 216(b);
‘ Case 6:18-cv-01328-PGB-GJK Document1 Filed 08/14/18 Page 9 of 12 PagelD 9

c) Equitable tolling of the statute of limitations from the date of the filing
of this complaint until the expiration of the deadline for filing consent
to sue forms under 29 U.S.C. § 216(b);

d) Leave to add additional plaintiffs by motion, the filing of written
consent forms, or any other method approved by this Court;

e) Judgment against Defendant for an amount equal to the unpaid
minimum wages of Plaintiff and all opt-in Members of the FLSA
Collective Class;

f) A declaratory judgment stating that the practices complained of herein
are unlawful under the FLSA;

g) Judgment against Defendant for an amount equal to the unpaid back
wages of Plaintiff and opt-in Members of the FLSA Collective Class at
the applicable statutory minimum wage, as liquidated damages;

h) Judgment against Defendant stating that its violations of the FLSA
were willful;

1) To the extent liquidated damages are not awarded, an award of
prejudgment interest;

}) All costs and attorney’s fees incurred in prosecuting these claims; and

k) For such further relief as this Court deems just and equitable.

COUNT II —- VIOLATION OF ARTICLE X,
SECTION 24 OF THE FLORIDA CONSTITUTION

 

46. Plaintiff realleges and readopts the allegations of paragraphs 1 through 39 of

this Complaint as though fully set forth herein.
- Case 6:18-cv-01328-PGB-GJK Document1 Filed 08/14/18 Page 10 of 12 PageID 10

47. Plaintiff and the putative Florida Class Members were entitled to be paid at
least the Florida minimum wage for each hour worked during their employment with
Defendant.

48. Specifically, Plaintiff and the putative Florida Class Members were not paid
the proper minimum wage, as required by Article X, Section 24 of the Florida Constitution.

49. Defendant willfully failed to pay Plaintiff and the putative Florida Class the
required minimum wages for one or more weeks during their employment contrary to Article
X, Section 24 of the Florida Constitution.

50. Plaintiff has complied with all statutory prerequisites to bringing her claim
pursuant to Article X, Section 24 of the Florida Constitution.

51. Specifically, on April 20, 2018, Plaintiff served Defendant with a Notice
pursuant to Fla. Stats. § 448.110, on behalf of herself, and those similarly situated to
Plaintiff. Based upon information and belief, Defendant received this Notice on April 25,
2018.

52. More than 15 days have elapsed since Plaintiff service of her Notice on
Defendant, and Defendant has failed to make payment to Plaintiff and failed to make
payment to the putative Florida Class members.

53. Asa direct and proximate result of Defendant’s deliberate underpayment of
wages, Plaintiff and the putative Florida Class have been damaged in the loss of minimum

wages for one or more weeks of work with Defendant.

10
. « Case 6:18-cv-01328-PGB-GJK Document1 Filed 08/14/18 Page 11 of 12 PagelD 11

54.

Plaintiff and the putative Florida Class Members are entitled to an award of

damages in an amount equal to the relevant Florida Minimum Wage, and an equal amount as

liquidated damages.

55.

Plaintiff is entitled to an award of reasonable attorneys’ fees and costs,

pursuant to Article X, Section 24 of the Florida Constitution.

WHEREFORE, Plaintiff, on behalf of herself and the Florida Class, prays for relief

as follows:

Determining that this action may proceed as a class action;
Designating Plaintiff as class representative and designating Plaintiffs
counsel as counsel for the putative Florida Classes;

Issuing proper notice to the putative Florida Classes at Defendant’s
expense;

All unpaid wage and overtime compensation due under Article X,
Section 24 of the Florida Constitution;

An equal amount of all owed wages and misappropriated funds and
tips as liquidated damages as allowed under Article X, Section 24 of
the Florida Constitution;

Awarding actual damages;

Awarding reasonable attorneys’ fees and costs;

Granting other and further relief, in law or equity, as this Court may

deem appropriate and just.

11
Case 6:18-cv-01328-PGB-GJK Document1 Filed 08/14/18

Page 12 of 12 PagelD 12

JURY TRIAL DEMAND

Plaintiff demands trial by jury as to all issues so triable.

Dated ite of August, 2018.

12

“Uae submitted,

ff A~

idl K. RENTON
Florida Bar VK WE 0002089
CHRISTOPHER J. SABA
Florida Bar Number: 0092016
WENZEL FENTON CABASSA, P.A.
1110 North Florida Avenue, Suite 300
Tampa, Florida 33602

Main Number: 813-224-0431
Direct Dial: 813-223-6413
Facsimile: 813-229-8712

E-Mail: mfenton@wtclaw.com
Email: csaba@wfclaw.com
E-Mail: tsoriano@wfclaw.com
Attorneys for Plaintiff
